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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CR. NO. 13-303 SOM
                              )
           Plaintiff,         )           ORDER DENYING DEFENDANT’S
                              )           MOTION FOR COMPASSIONATE
                              )           RELEASE
                              )
     vs.                      )
                              )
JAMES KIM,                    )
                              )
           Defendant.         )
                              )
_____________________________ )

     ORDER DENYING DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

I.          INTRODUCTION.

            In 2013, Defendant James Kim was sentenced to 180

months in prison after pleading guilty to having conspired to

possess methamphetamine with intent to distribute, in violation

of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846.           In 2015, this

court reduced Kim’s prison sentence to 168 months in light of a

retroactive reduction in the sentencing guideline range.            See 18

U.S.C. § 3582(c)(2).      Kim has served approximately 8 years of his

14-year sentence and, with anticipated good time credit, has a

projected release date of November 17, 2024.          He now moves for

compassionate release under 18 U.S.C. § 3582(c)(1)(A).

            Kim’s request is based on the COVID-19 pandemic.           He

contends that his age (60) and underlying medical conditions

(hypertension, high cholesterol, and diabetes) make him

vulnerable to complications if he contracts COVID-19.            Kim is
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housed at FCI Lompoc, which, on May 7, 2020, reported that Kim

had tested positive for COVID-19.        The medical records do not

report that he exhibited any symptoms.         ECF No. 67, PageID # 320.

Now, a month later, it is difficult for this court to conclude

that Kim is likely to suffer complications.          It is equally

difficult for this court to determine whether he might be

reinfected or might now have some form of immunity from the

virus.   These circumstances, coupled with Kim’s concerning record

(including alleged violence and escape) lead this court to

conclude that Kim has, at least so far, not established

extraordinary and compelling reasons that warrant a reduction in

his sentence.

II.         ANALYSIS.

            Kim’s compassionate release request is governed by 18

U.S.C. § 3582(c)(1)(A), which provides:

            [T]he court . . . upon motion of the
            defendant after the defendant has fully
            exhausted all administrative rights to appeal
            a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse
            of 30 days from the receipt of such a request
            by the warden of the defendant’s facility,
            whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that--

            (i) extraordinary and compelling reasons
            warrant such a reduction . . . .

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            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission.

In other words, for the court to exercise its authority under §

3582(c)(1)(A), it must (1) find that the defendant exhausted his

administrative remedies or that 30 days have passed since he

filed an administrative compassionate relief request; (2) also

find, after considering the factors set forth in section 3553(a),

that extraordinary and compelling reasons warrant a sentence

reduction; and (3) find that such a reduction is consistent with

the Sentencing Commission’s policy statements.          United States v.

Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020).

            A.    Kim has satisfied the time-lapse requirement of 18
                  U.S.C. § 3582(c)(1)(A).

            Kim submitted an administrative compassionate release

request to the warden of his prison more than 30 days before

filing this motion.      See ECF No. 64, PageID # 217.       He has

satisfied the time-lapse requirement of 18 U.S.C.

§ 3582(c)(1)(A).     The Government is not contesting Kim’s

satisfaction of the exhaustion requirement.

            B.    Kim has not demonstrated that extraordinary and
                  compelling circumstances justify his early
                  release.

            This court therefore turns to § 3582(c)(1)(A)’s second

requirement: whether extraordinary and compelling reasons warrant

a sentence reduction.      In orders addressing compassionate release


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motions in other cases, this court has expressly recognized that

it possesses considerable discretion in determining whether a

particular defendant has established the existence of

extraordinary and compelling reasons that justify early release.

Although, as Kim notes, this court in an earlier ruling saw no

need to rule on the scope of its discretion, see United States v.

Maka, 2020 WL 2544408 (D. Haw. May 19, 2020), this court has

subsequently ruled that it reads § 3582(c)(1)(A) as allowing this

court considerable discretion, notwithstanding the absence of an

amended policy statement from the Sentencing Commission

reflecting the discretion now given to courts under that statute.

See United States v. Scher, 2020 WL 3086234, at *2 (D. Haw. June

10, 2020); United States v. Cisneros, 2020 WL 3065103, at *2 (D.

Haw. Jun. 9, 2020); United States v. Kamaka, 2020 WL 2820139, at

*3 (D. Haw. May 29, 2020).

            The Government asserts that Kim’s diabetes constitutes

an “extraordinary and compelling reason” but that release is

nevertheless not warranted.       See ECF No. 71, PageID # 375.        After

seeing the Government parse the statutory language this way in

numerous prior filings, this court recently questioned how the

Government can deem a reason to be “extraordinary and compelling”

if it does not warrant release.          See Scher, 2020 WL 3086234, at

*1.   The Government is separating the words “extraordinary and

compelling reasons” from the immediately following words


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(“warrant such a reduction”) in the statute.          The statute

requires a court to find “that extraordinary and compelling

reasons warrant such a reduction.”        This language is of a piece,

and this court does not see how it can conclude that there is an

“extraordinary and compelling reason” that does not warrant

release.    Treating Kim’s reasons as “extraordinary and

compelling” and only then turning to whether he should be

released requires treating in isolation words in § 3582(c)(1)(A)

that cannot justifiably be isolated from the idea that the

extraordinary and compelling reasons must be reasons that warrant

a reduction.    Of course, a party is the master of the arguments

it advances, but the court would be likelier to accept the

Government’s parsing of the statutory language if the Government

explained the basis for isolating “extraordinary and compelling

reasons” from “warrant such a reduction.”

            Kim’s motion is premised on his asserted risk of

developing serious complications from COVID-19.          Kim says that

the coronavirus has spread rapidly at FCI Lompoc, that prison

officials cannot prevent him from being infected, and that

infection poses particular dangers to him.         See, e.g., ECF No.

64, PageID # 222.

            This court begins by looking at the situation at FCI

Lompoc.    In a different case, this court granted a compassionate

release motion after studying the situation in the adjacent USP


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Lompoc.    See Kamaka, 2020 WL 2820139, at *3.        In the present

case, the parties are disputing just how serious the situation is

at FCI Lompoc.     The Government asserts that there are now few

active cases at FCI Lompoc, given measures the Bureau of Prisons

has allegedly taken to halt what had been the serious spread of

the virus at that facility.       See ECF No. 73-3, PageID # 446.        The

court has consulted the BOP’s website on the matter, noting that

there is now reportedly a single inmate and 6 staff members with

positive tests for COVID-19, that there have been 2 inmate

deaths, and that 884 inmates and 12 staff members have reportedly

recovered after earlier testing positive.         See www.bop.gov (last

visited June 15, 2020).      Kim challenges both the accuracy of the

Government’s statistics and the efficacy of its protective

measures, claiming that there have actually been 3 deaths.             See,

e.g., ECF No. 75, PageID # 452-53; ECF No 79-1; ECF No. 79-2.

With inmate deaths and with 884 earlier positive tests among

inmates, Kim’s concern is readily understandable.

            If the only evidence facing this court were FCI

Lompoc’s statistics and Kim’s age, hypertension, high

cholesterol, and diabetes, it is highly likely that this court

would grant Kim’s compassionate release motion to protect him

from the coronavirus.      But the situation here is complicated by

other evidence in the record.       Most notably, Kim was tested for

COVID-19 on May 6, 2020, and the test came back positive on May


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7, 2020, more than a month ago.        ECF No. 67, PageID # 320.       That

raises two issues.     First, the medical records do not indicate

that Kim displayed any symptoms at all, calling into question his

argument that he would likely develop complications.             During a

telephone call with his counsel on June 8, 2020, Kim reported

being “stuffy” and having body aches.         See ECF No. 75-1, PageID #

465.   In emails, he added headaches and an “abnormal heart

rhythm” to his symptoms, noting that a virus could stay in a body

for years and complaining that prison staff were not really

checking up on inmates.      See ECF No. 79.     Whether, a month after

his positive test, what Kim was experiencing were symptoms of

COVID-19 is impossible for this court to know based on the

present record.     The most the court can glean is that Kim was not

describing the kind of serious symptoms he is arguing he at risk

for.   In actuality, there is no way for this court to know

whether Kim’s test was a false positive, but, if the test was

accurate, it appears that Kim may have survived the virus without

developing serious complications.

            Second, based on the present record, this court cannot

tell that there is a substantial risk that Kim will be

reinfected.    Individuals infected by certain other viruses have

at least some immunity against future infection, although the

strength and length of that immunity may vary.          Kim cites some

sources indicating that it is too soon to be sure that the same


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is true for individuals who contract COVID-19.1          See ECF No. 64,

PageID # 223.     This court is acutely aware that no one completely

understands how the coronavirus operates.         There appears to be

some evidence suggesting that recovery from COVID-19 confers at

least temporary immunity against reinfection.2          This court is in

no position to make a definitive determination about immunity,

but the combination of Kim’s lack of complications after testing

positive and the possibility of some form of immunity cannot be

ignored in any evaluation of whether there are extraordinary and

compelling reasons warranting a reduction in his sentence.



      1
       In a supplemental filing, Kim states that some inmates who
tested positive later tested negative before testing positive
again. ECF No. 79-1, PageID # 513. This court cannot determine
whether the negative test was a false negative or whether the
individuals were actually reinfected.
      2
       See, e.g., Dr. Robert D. Kirkcaldy, et al., COVID-19,
Postinfection Immunity Limited Evidence, Many Remaining
Questions, J. of the Am. Medical Ass’n, at 2246, available at
https://jamanetwork.com/journals/jama/fullarticle/2766097
(“[E]xisting limited data on antibody responses to SARS-CoV-2 and
related coronaviruses, as well as one small animal model study,
suggest that recovery from COVID-19 might confer immunity against
reinfection, at least temporarily. However, the immune response
to COVID-19 is not yet fully understood and definitive data on
postinfection immunity are lacking.”) (last visited June 9,
2020); Dr. Francis Collins, NIH Director’s Blog: Study Finds
Nearly Everyone Who Recovers From COVID-19 Makes Coronavirus
Antibodies, available at https://directorsblog.nih.gov/
2020/05/07/study-finds-nearly-everyone-who-recovers-from-covid-19
-makes-coronavirus-antibodies/ (“Although more follow-up work is
needed to determine just how protective these antibodies are and
for how long, these findings suggest that the immune systems of
people who survive COVID-19 have been primed to recognize
SARS-CoV-2 and possibly thwart a second infection.”) (last
visited June 9, 2020).

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            The court has additional concerns about releasing Kim

early.    Kim has served less than two-thirds of his sentence.           The

court might not be overly influenced by that if there were not

also in the record suggestions that Kim might pose a danger to

the community if released.       Not only did he have a drug

trafficking conviction in Korea and a prior federal drug

trafficking conviction, he also had a battery conviction for

having punched his girlfriend in the mouth.          ECF No. 46, PageID #

117-18.    Even now, he has an outstanding arrest warrant relating

to a separate assault allegation.        Id. at 119.    Kim presents

little evidence showing that he has been rehabilitated.            Indeed,

he attempted to escape from FCI Lompoc in 2017.          ECF No. 56.     In

short, his record is not encouraging.

            This court certainly wishes it knew more about the

situation at FCI Lompoc, about the accuracy of Kim’s positive

test, and about whether Kim might have some form of immunity from

COVID-19.    But of course this court must rule based on what it

has.   Given the totality of the information before it, this court

concludes that it does not have an extraordinary and compelling

reason to reduce Kim’s sentence.

III.        CONCLUSION.

            Kim’s request for compassionate release under 18 U.S.C.

§ 3582(c)(1)(A) is denied.




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             It is so ordered.

             DATED: Honolulu, Hawaii, June 15, 2020.



                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     United States District Judge




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